           Case 2:21-bk-13523-ER                             Doc 173 Filed 11/11/21 Entered 11/11/21 12:10:11                                  Desc
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 Fill in this information to identify the case:

 Debtor name         Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-13523 ER
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 11, 2021                       X       See Declaration of Carolyn A. Dye attached at the end of these schedules
                                                                         Signature of individual signing on behalf of debtor

                                                                         Carolyn A. Dye, Chapter 7 Trustee
                                                                         Printed name

                                                                         Chapter 7 Trustee
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
2:21-bk-11234-ER Urban Commons Gramercy, LLC
Case type: bk Chapter: 11 Asset: Yes Vol: v Judge: Ernest M. Robles
Date filed: 02/16/2021

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
                                                                                                  See Declaration of Carolyn A. Dye attached at the end of
Executed at      Los Angeles                                       , California.                  these schedules
                                                                                                    Carolyn A. Dye, Chapter 7 Trustee
Date:            November 11, 2021                                                                   Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify the case:

 Debtor name            Urban Commons, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               2:21-bk-13523 ER
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $          120,602.37

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $          120,602.37


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               3,137.50

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      44,427,524.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        44,430,661.62




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-13523 ER
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     CTBC Bank                                              Checking                         9928                                  $99,966.47




            3.2.     EastWest Bank                                          Checking                         1231                                        $205.14




            3.3.     EastWest Bank                                          Checking Accounnt                1478                                        $430.76




            3.4.     Bank of America, N.A.                                  Checking                         8928                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $100,602.37
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         Urban Commons, LLC                                                           Case number (If known) 2:21-bk-13523 ER
                Name



 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     The Trustee is informed and believes that
                     these entites are all wholly owned
                     subsidiaries of the Debtor. The Trustee is
                     further informed and believes that these
                     entities own no assets of value. However,
                     the Trustee continues to investigate the
                     prepetition business activities of these
                     entities.

                     1. EHT Asset Management, LLC
                     2. EHT CPDCT, LLC
                     3. EHT ESAN, LLC
                     4. EHT ESPD, LLC
                     5. EHT FP5J, LLC
                     6. EHT HIA, LLC
                     7. EHT HIDH, LLC
                     8. EHT HISM, LLC
                     9. EHT HIOR, LLC
                     10. EHT QMLB, LLC
                     11. EHT RDH, LLC
                     12. EHT SPH, LLC
                     13. EHT WSAC, LLC
                     14. EHT RWH, LLC
                     15. EHT HAN, LLC
                     16. EHT DHSLC, LLC
                     17. EHT HHG, LLC
                     18. EHT CPDGA, LLC
           15.1.     19. EHT SDTC, LLC                                              100       %                                                $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Urban Commons, LLC                                                            Case number (If known) 2:21-bk-13523 ER
                Name

                     Urban Commons Gramercy, LLC

                     The Debtor has a 5.183% in Urban Commons
                     Gramercy, LLC ("Gramercy") is a Chapter 11
                     Debtor in 2:21-bk-11234-ER Urban Commons
                     Gramercy, LLC. Gramercy owns
                     approximately 38.19% of a parcel of real
                     property that was recently sold. There are
                     disputes over the proceeds. Presently it
                     appears that the Debtor's interest is worth
           15.2.     $10,000 or less                                                5.183%        %   Comparable sale                   $10,000.00


                     Urban Commons Battery Park, LLC
                     ("Battery") Battery owns and operates a
                     hotel. The Trustee has investigated the
                     value of the estate's equity interest and is
                     informed that all of Battery's assets are
                     overenumbered and therefore the Debtor's
           15.3.     equity position is without any present value.                  9.505         %   Liquidation                               $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.                                                                                                         $10,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Urban Commons, LLC                                                           Case number (If known) 2:21-bk-13523 ER
                Name

           Chairs Herman Miller 14
           Chairs Black Chairs 30
           Furniture Desk 1
           Furniture Side Table 3
           Furniture Tea Cup Set of 3 1
           Furniture Couch 1
           Conference room table
           Office Cubicles
           Miscellaneous Kitchen small appliances,
           coffee maker, water cooler, pots, pans,
           refrigerator
           Guest seating and coffee table                                              Unknown       Comparable sale                    $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Desktop Speakers 2
           Dockingstations 34
           Mouse 22
           Network Swtich 4
           Sonicwall 1
           Wifi Systems 1
           Network Rack 1
           Network UPS 2
           Network Digital Drawing Boards 2
           Keyboards 28
           Monitors 38
           Paper Holder 4
           Staplers
           Hole Punchers 2
           Mail Scale 1
           Paper Shreders 3
           Surge Protectors 19
           HP - Ink 15
           Postit Note Holder 1
           Label Maker 2
           Desktop Phones 2
           Conference Room Phones 2
           Printers 9
           Monitor Stands 12
           UC Case NAS 1
           UC Case Tablets at UC 2
           UC Case External USB HD 1
           Laptops Computers 11                                                        Unknown       Comparable sale                    $5,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collect bles

 43.       Total of Part 7.                                                                                                            $10,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 10250 Constellation
                     Blvd, Ste 1750, Los
                     Angeles, California
                     90067, US

                     Real Property lease
                     that was rejected
                     post petition by the
                     Trustee                              Leasee                            $0.00                                                  $0.00


            55.2.    777 South Figueroa
                     Street, Suites 2850
                     and 2870, Los
                     Angeles, California
                     90017

                     Trustee asserts this
                     lease was rejected by
                     operation of law                     Leasee                            $0.00                                                  $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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 Debtor         Urban Commons, LLC                                                           Case number (If known) 2:21-bk-13523 ER
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     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            The Trustee is continuing to investigate the Debtor's
            prepetition business activities including, pre and post
            petition transfers of monies and other assets to the
            Debtor's insiders, affiliated companies, business
            partners and other entities. The Trustee believes that
            these investigations will result in the identification of
            the legal claims for avoidance of fraudulent transfers
            and other avoidance claims.

            The Trustee will continue to amend these schedules as
            she identifies assets of value for the estate and its
            creditors.                                                                                                                         $0.00




 78.        Total of Part 11.                                                                                                               $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $100,602.37

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                             $10,000.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $10,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $120,602.37           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $120,602.37




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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 Fill in this information to identify the case:

 Debtor name         Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-13523 ER
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)          2:21-bk-13523 ER
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach he Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, he claim is:                                        $3,137.50     $3,137.50
           Franchise Tax Board                                       Check all that apply.
           Attn Bankruptcy                                            Contingent
           PO Box 2952                                                Unliquidated
           Sacramento, CA 95812-2952                                  Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unpaid Income Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $255.00
           1750 Daimler Trust LSR                                                   Contingent
           c/o Linebarger Goggan Blair & Samps                                      Unliquidated
           PO Box 659443                                                            Disputed
           San Antonio, TX 78265-9443
                                                                                   Basis for the claim:    Unpaid car lease payments
           Date(s) debt was incurred 2021
           Last 4 digits of account number 2958                                    Is the claim subject to offset?     No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $12,713.87
           Adams and Reese LLP                                                      Contingent
           Dept. 5208                                                               Unliquidated
           Birmingham, AL 35287                                                     Disputed
           Date(s) debt was incurred 2019
                                                                                   Basis for the claim:    Legal services
           Last 4 digits of account number      0001
                                                                                   Is the claim subject to offset?     No  Yes



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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $55,824.00
          AEI Consultants                                                     Contingent
          2500 Camino Diablo                                                  Unliquidated
          Walnut Creek, CA 94597                                              Disputed
          Date(s) debt was incurred 2018-2020
                                                                             Basis for the claim:    Environmental assessement services
          Last 4 digits of account number 5590
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aimbridge Concession, Inc.                                          Contingent
          c/o Brownstein Hyatt Farber Schreck                                 Unliquidated
          2049 Century Park East Suite 3550                                   Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Lawsuit for breach contract
          Date(s) debt was incurred 2020
          Last 4 digits of account number 0282                               Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,000.00
          Air Supply Incorporated                                             Contingent
          655 E A Street                                                      Unliquidated
          Upland, CA 91786                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Exhaust fan services
          Last 4 digits of account number       2514
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $615.32
          Allstate Insurance Company                                          Contingent
          PO Box 4344                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Unpaid insurance premium
          Last 4 digits of account number 2008
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,352.66
          Alternative Collections LLC                                         Contingent
          65 Lawrence Bell Dr. Suite 101                                      Unliquidated
          Buffalo, NY 14221                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collection agency for CIT Bank NA SBS
          Last 4 digits of account number 7001
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,051.53
          American Express                                                    Contingent
          PO Box 297879                                                       Unliquidated
          Fort Lauderdale, FL 33329-7879                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Credit card charges
          Last 4 digits of account number 2001
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,281.00
          BakerHostetler
          Attn: Andrew Grossman                                               Contingent
          1050 Connecticut Avenue, NW                                         Unliquidated
          Suite 1100                                                          Disputed
          Washington, DC 20036
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred 2021
          Last 4 digits of account number 0001                               Is the claim subject to offset?    No  Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,650.16
          Bank of America Business Card                                       Contingent
          PO Box 15796                                                        Unliquidated
          Corona Del Mar, CA 92625                                            Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Business credit card
          Last 4 digits of account number 6754
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $392,234.33
          Brookfield Properties Management In                                 Contingent
          777 South Figueroa Street Suite 375                                 Unliquidated
          Los Angeles, CA 90017                                               Disputed
          Date(s) debt was incurred 2011-2015
                                                                             Basis for the claim:    Real property lease for 777 S. Figueroa Street Los
          Last 4 digits of account number                                    Angeles
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bruce Beretta
          c/o Tullius Law Group                                               Contingent
          Attn: Jennifer R. Tullius                                           Unliquidated
          515 S. Flower Street 18th Floor                                     Disputed
          Los Angeles, CA 90071
                                                                             Basis for the claim:    Lawsuit for breach of contract
          Date(s) debt was incurred 2020
          Last 4 digits of account number 8346                               Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,390.00
          C Below Subsurface Imaging                                          Contingent
          14280 Eulid Ave                                                     Unliquidated
          Chino, CA 91710                                                     Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Undergroud Imaging Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $236.88
          Canon Finanancial Servies                                           Contingent
          14904 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693-0149                                              Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Copier Lease
          Last 4 digits of account number 0147
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $3,050,000.00
          Carl Carlson
          c/o Gokal Law Group, Inc.                                           Contingent
          Attn: Alison S. Gokal                                               Unliquidated
          26080 Towne Centre Dr.                                              Disputed
          Foothill Ranch, CA 92610
                                                                             Basis for the claim:    Lawsuit for personal injury
          Date(s) debt was incurred 2020
          Last 4 digits of account number 3636                               Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Century Group International, LLC                                    Contingent
          222 N. Pacific Coast Highway                                        Unliquidated
          El Segundo, CA 90245                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Professional search & placement services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,551.75
          Cisco, Inc.                                                         Contingent
          1702 Townhurst Dr.
          Houston, TX 77043
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred      2020
                                                                             Basis for the claim:    Collection agency for Cogency Global, Inc.
          Last 4 digits of account number       R8C4
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City of Long Beach
          c/o Brutzkus Gubner Rozansky Seror                                  Contingent
          Attn: Corey Weber                                                   Unliquidated
          21650 Oxnard St., Suite 500                                         Disputed
          Woodland Hills, CA 91367
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,163.00
          City of Los Angeles                                                 Contingent
          Office of Finance                                                   Unliquidated
          51108                                                               Disputed
          Los Angeles, CA 90051
                                                                             Basis for the claim:    City Taxes
          Date(s) debt was incurred 2021
          Last 4 digits of account number       2929                         Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $250,000.00
          Clifford Rosen
          GARCIA RAINEY BLANK & BOWERBANK                                     Contingent
          LLP                                                                 Unliquidated
          695 Town Center Drive, Suite 700                                    Disputed
          Costa Mesa, CA 92626
                                                                             Basis for the claim:    Real Estate Investment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,623.60
          Cogent Communications, Inc.                                         Contingent
          PO Box 791087                                                       Unliquidated
          Baltimore, MD 21279                                                 Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Telecommunication services
          Last 4 digits of account number 0019
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,027.12
          Complete Copy Systems Group                                         Contingent
          3300 Beverly Blvd.                                                  Unliquidated
          Los Angeles, CA 90004                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Copier maintenance contract
          Last 4 digits of account number 9111
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,274,291.76
          Constellation Place LLC                                             Contingent
          10250 Constellation Blvd. Suite 800                                 Unliquidated
          Los Angeles, CA 90067                                               Disputed
          Date(s) debt was incurred 2017
                                                                                             Real property lease for 10250 Constellation Blvd.,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Suite 170, Los Angeles, CA 90067
                                                                             Is the claim subject to offset?    No  Yes


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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,826.52
          Creditors Adjustment Bureau                                         Contingent
          c/o Law Offices of Kenneth J. Freed                                 Unliquidated
          14226 Ventura Blvd.                                                 Disputed
          Sherman Oaks, CA 91413
                                                                             Basis for the claim:    Collection accounnt
          Date(s) debt was incurred 2021
          Last 4 digits of account number 7161                               Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,217.55
          CSC                                                                 Contingent
          251 Little Falls Drive                                              Unliquidated
          Wilmington, DE 19808                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Corporation services/Agent for Service of Process
          Last 4 digits of account number       4055                         services
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danny Harris                                                        Contingent
          c/oCarpenter Zuckerman & Rowley LLP                                 Unliquidated
          8827 West Olympic Blvd.                                             Disputed
          Los Angeles, CA 90012
                                                                             Basis for the claim:    Lawsuit for Personal Injury
          Date(s) debt was incurred 19STCV34891
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,368.79
          Datasite LLC                                                        Contingent
          The Baker Center                                                    Unliquidated
          733 S. Marquette Ave., Suite 600                                    Disputed
          Minneapolis, MN 55402
                                                                             Basis for the claim:    Advertising Services
          Date(s) debt was incurred
          Last 4 digits of account number       9186                         Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EHT US1, Inc.
          c/o Paul Hastings LLP                                               Contingent
          Attn: Nick Bassett                                                  Unliquidated
          2050 M St., N.W.                                                    Disputed
          Washington, DC 20036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,792.15
          Ellenoff Grossman & Schole LLP                                      Contingent
          1345 Avenue of the Americas                                         Unliquidated
          New York, NY 10105                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number 532M
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $999,424.00
          Epic Entertainment Group, LLC                                       Contingent
          207 East Broadway #302                                              Unliquidated
          Long Beach, CA 90802                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract for services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,150,000.00
          ERJMJ Investments, LP                                               Contingent
          32 S La Senda Drive                                                 Unliquidated
          Laguna Beach, CA 92651                                              Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Promissory Notes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,730.44
          Ervin Cohen Jessup LLP                                              Contingent
          9401 Wilshire Blvd 9th Floor                                        Unliquidated
          Beverly Hills, CA 90212                                             Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number 7175
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,222.35
          Ford Motor Credit Company                                           Contingent
          Department 194101                                                   Unliquidated
          PO Box 55000                                                        Disputed
          Detroit, MI 48255-1941
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Deficiency on automobile purchase contract
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $3,123,165.75
          George M. Lee and Galaxy Investment                                 Contingent
          81 N Mentor Ave                                                     Unliquidated
          Pasadena, CA 91106                                                  Disputed
          Date(s) debt was incurred 1/1/2021
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,787.50
          GeoSoils, Inc.                                                      Contingent
          5741 Palmer Way Suite D                                             Unliquidated
          Carlsbad, CA 92010                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Geological services
          Last 4 digits of account number       7191
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,897.00
          InterCommunications Inc.                                            Contingent
          1375 Dove Street Suite 200                                          Unliquidated
          Newport Beach, CA 92660                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract for Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Dannelley & Mary A. Dannelley
          c/o Bienert Katzman Littrell Willia                                 Contingent
          Attn: Anthony R. Bisconti                                           Unliquidated
          903 Calle Amanecer Suite 350                                        Disputed
          San Clemente, CA 92673
                                                                             Basis for the claim:    Breach of Contract
          Date(s) debt was incurred
          Last 4 digits of account number       CCJC                         Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Jenkins
          c/o Equity Legal Group, P.C.                                        Contingent
          Attn: Kevin W. Chiang                                               Unliquidated
          201 S. Lake Ave. Suite 506                                          Disputed
          Pasadena, CA 91101
                                                                             Basis for the claim:    Claim for labor code and law violations
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Fan
          c/o Wallin & Russell                                                Contingent
          Attn: Michael Wallin                                                Unliquidated
          26000 Towne Centre Drive Suite 130                                  Disputed
          Foothill Ranch, CA 92610
                                                                             Basis for the claim:    Breach of Contract
          Date(s) debt was incurred
          Last 4 digits of account number       CCJC                         Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juice Capital
          c/o Rutan & Tucker LLP                                              Contingent
          Attn: Heather N. Herd                                               Unliquidated
          18575 Jamboree Road 9th Floor                                       Disputed
          Irvine, CA 92612
                                                                             Basis for the claim:    Breach of Contract
          Date(s) debt was incurred 2019
          Last 4 digits of account number 4701                               Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $735.00
          LA Construction Heating and Air Con                                 Contingent
          6430 Variel Ave Suite 102                                           Unliquidated
          Woodland Hills, CA 91367                                            Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Plumbing Services
          Last 4 digits of account number 8479
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $78.55
          MarBorg Industries                                                  Contingent
          PO Box 4127                                                         Unliquidated
          Santa Barbara, CA 93140                                             Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Garbage collection services
          Last 4 digits of account number       6490
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,087.68
          Matax Consulting                                                    Contingent
          1370 Valley Vista Drive Suite 235                                   Unliquidated
          Diamond Bar, CA 91765                                               Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Tax assessment services
          Last 4 digits of account number 8931
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,763.77
          Mercedes Benz Financial                                             Contingent
          PO Box 5209                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Motor vehicle lease
          Last 4 digits of account number       3001
                                                                             Is the claim subject to offset?    No  Yes



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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Otto Rene Pineda
          c/o Levin & Nalbandyan                                              Contingent
          Jacob Nalbandyan                                                    Unliquidated
          811 Wilshire Blvd. Suite 800                                        Disputed
          Los Angeles, CA 90017
                                                                             Basis for the claim:    Lawsuit for wrongful termination
          Date(s) debt was incurred 2019
          Last 4 digits of account number 2630                               Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,250,000.00
          Pacific Premier Trust
          c/o Feldman Law                                                     Contingent
          Andrew M. Feldman                                                   Unliquidated
          9100 S. Dadeland Blvd. Suite 1500                                   Disputed
          Miami, FL 33156
                                                                             Basis for the claim:    Breach of Contract
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,374,500.00
          Paul Hwee
          c/o Burkhalter Kessler Clement &                                    Contingent
          Attn: Alton Burkhalter                                              Unliquidated
          2020 Main Street Suite 600                                          Disputed
          Irvine, CA 92614
                                                                             Basis for the claim:    Breach of contract
          Date(s) debt was incurred 2014
          Last 4 digits of account number 3598                               Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $255.00
          Pikepass                                                            Contingent
          4401 W Memorial Road Suite 130                                      Unliquidated
          Oklahoma City, OK 73134                                             Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Unpaid Tolls
          Last 4 digits of account number 4723
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,356.33
          Polina Yatsyna                                                      Contingent
          4240 Fulton Ave Unit 108                                            Unliquidated
          Studio City, CA 91604                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Unpaid Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,768.50
          Prince Lobel Tye LLP                                                Contingent
          One International Place Suite 3700                                  Unliquidated
          Boston, MA 02110                                                    Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number 9605
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $440.00
          R&R Electric                                                        Contingent
          2803 Carlsbad Street                                                Unliquidated
          Redondo Beach, CA 90278                                             Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Electrician Services
          Last 4 digits of account number 2086
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 12
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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Red Bus Charter Company                                             Contingent
          c/o Ronald Appel                                                    Unliquidated
          2522 Chambers Rd                                                    Disputed
          Tustin, CA 92780
                                                                             Basis for the claim:    Lawsuit for Breach of Contract
          Date(s) debt was incurred 2020
          Last 4 digits of account number 0282                               Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,942.62
          Regus Management Group LLC                                          Contingent
          655 North Central Ave 17th Floor                                    Unliquidated
          Glendale, CA 91203                                                  Disputed
          Date(s) debt was incurred 2010
                                                                             Basis for the claim:    Unpaid rent
          Last 4 digits of account number 2570
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,000,000.00
          Robert B. Cowan                                                     Contingent
          3707 W. Garden Grove Blvd.                                          Unliquidated
          Orange, CA 92866                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Unsecured loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,151.00
          ROBERT HALF MANAGEMENT RESOURCES                                    Contingent
          ROBERT HALF / RECOVERY DEPT                                         Unliquidated
          PO BOX 5024                                                         Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:    Staffing Services
          Date(s) debt was incurred 4/2020
          Last 4 digits of account number 1177                               Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $500,000.00
          Ronald Chistensen
          GARCIA RAINEY BLANK & BOWERBANK                                     Contingent
          LLP                                                                 Unliquidated
          695 Town Center Drive, Suite 700                                    Disputed
          Costa Mesa, CA 92626
                                                                             Basis for the claim:    Real Estate Investment
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,796.20
          Rossmoyne, Inc.                                                     Contingent
          3500 Ocean View Blvd.                                               Unliquidated
          Glendale, CA 91208                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Building Contractors Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,350.00
          Selbert Perkins Design, Inc.                                        Contingent
          432 Culver Blvd.                                                    Unliquidated
          Playa Del Rey, CA 90293                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract for Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 12
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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $522.50
          State of Delaware                                                   Contingent
          Division of Corporations                                            Unliquidated
          PO Box 5509                                                         Disputed
          Binghamton, NY 13902-5509
                                                                             Basis for the claim:    Annual Tax
          Date(s) debt was incurred 2021
          Last 4 digits of account number 5415                               Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $117.57
          Synter Resource Group LLC                                           Contingent
          5935 Rivers Ave Suite 102                                           Unliquidated
          Charleston, SC 29406                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collection agency for UPS
          Last 4 digits of account number 0WV5
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,140.00
          Transworld Systems Inc                                              Contingent
          500 Virgina Dr. Suite 514                                           Unliquidated
          Fort Washington, PA 19034                                           Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Collection agent for Ambient Environmental, Inc.
          Last 4 digits of account number 2751
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $166.45
          Verizon                                                             Contingent
          PO Box 660108                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred      2021                                Basis for the claim:    Cell phone service
          Last 4 digits of account number       0002
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Voy Ventures                                                        Contingent
          c/o Steven Booska                                                   Unliquidated
          PO Box 2169                                                         Disputed
          Oakland, CA 94621
                                                                             Basis for the claim:    Lawsuit for Breach of Contract
          Date(s) debt was incurred      2020
          Last 4 digits of account number       1771                         Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,940,049.00
          WBC Special Assets LLC
          c/o Elkins Kalt Weintrabu et.al.                                    Contingent
          Attn: Julie Kimball                                                 Unliquidated
          10345 W. Olympic Blvd.                                              Disputed
          Los Angeles, CA 90065
                                                                             Basis for the claim:    Promissory Note
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Weileen Leu
          c/o Equity Legal Group, P.C.                                        Contingent
          Attn: Kevin W. Chiang                                               Unliquidated
          201 S. Lake Ave. Suite 506                                          Disputed
          Pasadena, CA 91101
                                                                             Basis for the claim:    Claims for violations of labor code and laws
          Date(s) debt was incurred 2014-2021
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 12
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              Name

 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $94,229.59
           Wells Fargo Small Business Lending                                 Contingent
           MAC N9777-01B                                                      Unliquidated
           PO Box 5511                                                        Disputed
           Sioux Falls, SD 57117-5511
                                                                             Basis for the claim:    Unsecured line of credit
           Date(s) debt was incurred
           Last 4 digits of account number      0922                         Is the claim subject to offset?    No  Yes
 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.       $9,415,408.37
           West Bay Capital, LLC.                                             Contingent
           c/o FCI Lending Services                                           Unliquidated
           PO Box 27370                                                       Disputed
           Anaheim, CA 92809
                                                                             Basis for the claim:    Unsecured loan
           Date(s) debt was incurred
           Last 4 digits of account number      9099                         Is the claim subject to offset?    No  Yes
 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $85,096.71
           Wimberly Allison Tong & Goo, NA, In
           c/o Lee Lefkowitz Zarin & Steinmetz                                Contingent
           Lee J. Lefkowitz                                                   Unliquidated
           81 Main Street Suite 415                                           Disputed
           White Plains, NY 10601
                                                                             Basis for the claim:    Lawsuit for foreclosure of mechanic's lien
           Date(s) debt was incurred 2020
           Last 4 digits of account number 2020                              Is the claim subject to offset?    No  Yes
 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $24,769.75
           Wolters Kluwer                                                     Contingent
           PO Box 4349                                                        Unliquidated
           Carol Stream, IL 60197-4349                                        Disputed
           Date(s) debt was incurred 2019-2021
                                                                             Basis for the claim:    Corporation services/Agent for service of process
           Last 4 digits of account number 2006
                                                                             Is the claim subject to offset?    No  Yes
 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $104.50
           XPO LOGISTICS FREIGHT INC.                                         Contingent
           9151 Boulevard 26                                                  Unliquidated
           North Richland Hills, TX 76180                                     Disputed
           Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Freight Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $0.00
           Yana Solomakhina
           c/o Steven L. Mazza                                                Contingent
           Carpenter, Zuckerman & Rowley LLP                                  Unliquidated
           8827 West Olympic Blvd.                                            Disputed
           Beverly Hills, CA 90211
                                                                             Basis for the claim:    Lawsuit for personal injury claims
           Date(s) debt was incurred 2020
           Last 4 digits of account number 8181                              Is the claim subject to offset?    No  Yes
 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $1.00
           Zurich American Insurance                                          Contingent
           c/o Christopher McEvoy, VP                                         Unliquidated
           600 Red Brook Blvd, 6th FL                                         Disputed
           Owings Mills, MD 21117
                                                                             Basis for the claim:    Insurance Deductible
           Date(s) debt was incurred 2020
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 12
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              Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1       Adam C. Rogoff
           KRAMER LEVIN NAFTALIS & FRANKEL                                                        Line      3.28
           1177 Avenue of the Americas
           New York, NY 10036                                                                           Not listed. Explain


 4.2       Adam Soibelman
           R2 Law Group, LLC                                                                      Line      3.15
           23901 Calabasas Road
           Suite 2006                                                                                   Not listed. Explain

           Calabasas, CA 91302

 4.3       Brian Winn
           110 E Wilshire Ave., Suite 212                                                         Line      3.46
           Fullerton, CA 92832
                                                                                                        Not listed. Explain

 4.4       James W Bates
           Law Offices of James W. Bates                                                          Line      3.57
           1055 E. Colorado Blvd. 5th Floor
           Pasadena, CA 91106                                                                           Not listed. Explain


 4.5       Maguire Properties
           P.O. Box 840835                                                                        Line      3.11
           Los Angeles, CA 90084
                                                                                                        Not listed. Explain

 4.6       UPS
           2085 Lynnhave Pkwy                                                                     Line      3.60
           Virginia Beach, VA 23456
                                                                                                        Not listed. Explain

 4.7       Zarin & Steinmetx
           81 Main Street Suite 415                                                               Line      3.68
           White Plains, NY 10601
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.          $                     3,137.50
 5b. Total claims from Part 2                                                                         5b.    +     $                44,427,524.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                              5c.          $                   44,430,661.62




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 12
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 Fill in this information to identify the case:

 Debtor name         Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-13523 ER
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Lease for Debtor's
              lease is for and the nature of              offices at 777 South
              the debtor's interest                       Figueroa Street.

                                                          Property
                                                          surrendered/lease
                                                          rejected.
                  State the term remaining                0
                                                                                        Brookfield Properties Management In
              List the contract number of any                                           777 South Figueroa Street Suite 375
                    government contract                                                 Los Angeles, CA 90017


 2.2.         State what the contract or                  Copier lease.
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                0
                                                                                        Canon Finanancial Servies
              List the contract number of any                                           14904 Collections Center Drive
                    government contract                                                 Chicago, IL 60693-0149


 2.3.         State what the contract or                  Real property lease for
              lease is for and the nature of              Debtor's former
              the debtor's interest                       headquarters.
                                                          Premises were
                                                          surrendered to
                                                          landlord.
                  State the term remaining                0
                                                                                        Constellation Place LLC
              List the contract number of any                                           10250 Constellation Blvd. Suite 800
                    government contract                                                 Los Angeles, CA 90067




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-13523 ER
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Howard Wu                         14635 Whitfeld Ave                               Paul Hwee                       D
                                               Pacific Palisades, CA 90272                                                       E/F        3.47
                                                                                                                                G



    2.2      Howard Wu                         14635 Whitfeld Ave                               WBC Special Assets              D
                                               Pacific Palisades, CA 90272                      LLC                              E/F        3.64
                                                                                                                                G



    2.3      Taylor Woods                      826 Emerald Way                                  Paul Hwee                       D
                                               Laguna Beach, CA 92651                                                            E/F        3.47
                                                                                                                                G



    2.4      Taylor Woods                      826 Emerald Way                                  WBC Special Assets              D
                                               Laguna Beach, CA 92651                           LLC                              E/F        3.64
                                                                                                                                G



    2.5      Urban Commons                     10250 Constellation Blvd Suite 1750              Wimberly Allison                D
             2 West II LLC                     Los Angeles, CA 90067                            Tong & Goo, NA, In               E/F        3.68
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 2
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 Debtor       Urban Commons, LLC                                                        Case number (if known)   2:21-bk-13523 ER


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Urban Commons                     10250 Constellation Blvd Suite 1750           Wimberly Allison             D
             2 West III LLC                    Los Angeles, CA 90067                         Tong & Goo, NA, In            E/F       3.68
                                                                                                                          G



    2.7      Urban Commons                     10250 Constellation Blvd Suite 1750           Wimberly Allison             D
             2 West IV LLC                     Los Angeles, CA 90067                         Tong & Goo, NA, In            E/F       3.68
                                                                                                                          G



    2.8      Urban Commons                     10250 Constellation Blvd Suite 1750           Wimberly Allison             D
             2 West LLC                        Los Angeles, CA 90067                         Tong & Goo, NA, In            E/F       3.68
                                                                                                                          G



    2.9      Howard Wu                         14635 Whitfeld Ave                            Constellation Place          D
                                               Pacific Palisades, CA 90272                   LLC                           E/F
                                                                                                                          G        2.3




    2.10     Howard Wu                         14635 Whitfeld Ave                            Brookfield Properties        D
                                               Pacific Palisades, CA 90272                   Management In                 E/F
                                                                                                                          G        2.1




    2.11     Taylor Woods                      826 Emerald Way                               Constellation Place          D
                                               Laguna Beach, CA 92651                        LLC                           E/F
                                                                                                                          G        2.3




    2.12     Taylor Woods                      826 Emerald Way                               Brookfield Properties        D
                                               Laguna Beach, CA 92651                        Management In                 E/F
                                                                                                                          G        2.1




Official Form 206H                                                       Schedule H: Your Codebtors                                   Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Urban Commons, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-13523 ER
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)


     See Debtor's bank statements attached hereto for the 90 day period prior to the petition date.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor




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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Howard Wu                                                   2020: 4/30,                     $392,300.00           Unknown. Chapter 7 Trustee is
               14635 Whitfeld Ave                                          5/7, 5/12,                                            investigating the reasons these
               Pacific Palisades, CA 90272                                 5/22, 5/28,                                           payments were made.
               Debtor's 50% Member                                         6/9, 6/17,
                                                                           6/26,                                                 The Trustee believes that there
                                                                           7/1,7/21, 8/4,                                        are other payments that were
                                                                           8/14,                                                 made by the Debtor for the
                                                                           8/25,9/25,                                            benefit of the insider and will
                                                                           11/2, 11/12,                                          amend these schedules as she
                                                                           11/20, 11/30,                                         discovers aditional transfers.
                                                                           12/8, 12/17,
                                                                           12/8

                                                                           2021: 1/14,
                                                                           1/15, 1/19,
                                                                           1/20, 1/21,
                                                                           1/25, 2/5, 2/8,
                                                                           2/11, 2/12,
                                                                           2/17, 3/8, 4/9

       4.2.    Taylor Woods                                                2020: 4/30,                     $368,500.00           Unknown. Chapter 7 Trustee is
               826 Emerald Way                                             5/7, 5/12,                                            investigating the reasons these
               Laguna Beach, CA 92651                                      5/22, 5/28,                                           payments were made.
               Debtor's 50% Member                                         6/9, 6/17,
                                                                           6/26,                                                 The Trustee believes that there
                                                                           7/1,7/21,                                             are other payments that were
                                                                           7/31, 8/4,                                            made by the Debtor for the
                                                                           8/14,                                                 benefit of the insider and will
                                                                           8/25,9/25,                                            amend these schedules as she
                                                                           11/2, 11/30,                                          discovers aditional transfers.
                                                                           12/8, 12/17,
                                                                           12/8

                                                                           2021: 1/21,
                                                                           1/25, 2/5,
                                                                           2/12, 3/8

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was               Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


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       None.
               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.1.    Yana Solomakhina v. Urban                         Lawsuit for               Superior Court of California           Pending
               Commons, LLC et. al.                              personal injury           Los Angeles                          On appeal
               20STCV48181                                                                 312 North Spring Street
                                                                                                                                Concluded
                                                                                           Los Angeles, CA 90012

       7.2.    Carl Carlson v. Urban                             Lawsuit for               Superior Court of California           Pending
               Commons, LLC                                      persona injury            Los Angeles                          On appeal
               20STCV43636                                                                 111 N. Hill Street
                                                                                                                                Concluded
                                                                                           Los Angeles, CA 90012

       7.3.    Bruce Beretta v. Urban                            Breach of                 Superior Court of California           Pending
               Commons, LLC                                      Contract                  Los Angeles                          On appeal
               20STCV48346                                                                 111 N. Hill Street
                                                                                                                                Concluded
                                                                                           Los Angeles, CA 90012

       7.4.    John Dannelley & Mary A.                          Breach of                 Superior Court of California           Pending
               Dannelley v. Urban                                Contract                  Orange Coun                          On appeal
               Commons, LLC                                                                700 Civic Center Drive West
                                                                                                                                Concluded
               30-2020-01161801-CU-BC-CJC                                                  Santa Ana, CA 92701

       7.5.    Paul Hwee v Urban                                 Breach of                 Superior Court of California           Pending
               Commons, LLC                                      Contract                  Los Angeles                          On appeal
               21STCV13598                                                                 111 N. Hill Street
                                                                                                                                Concluded
                                                                                           Los Angeles, CA 90012

       7.6.    Otto Rene Pineda v. Urban                         Claim for                 Superior Court of California           Pending
               Commons, LLC                                      wrongful                  Los Angeles                          On appeal
               19STCV12630                                       termination               111 N. Hill Street
                                                                                                                                Concluded
                                                                                           Los Angeles, CA 90012

       7.7.    Juice Capital v Urban                             Breach of                 Superior Court of California           Pending
               Commons LLC                                       Contract                  Los Angeles                          On appeal
               21STCV14701                                                                 111 N. Hill Streeet
                                                                                                                                Concluded
                                                                                           Los Angeles, CA 90012

       7.8.    Joseph Fan v. Urban                               Breach of                 Superior Court of California           Pending
               Commons, LLC                                      Contract                  County of O                          On appeal
               30-2020-01170646-CU-BC-CJC                                                  700 Civic Center Drive West
                                                                                                                                Concluded
                                                                                           Santa Ana, CA 92701

       7.9.    Danny Harris v Urban                              Lawsuit for               Superior Court of California         Pending
               Commons LLC                                       Personal Injury           Los Angeles                          On appeal
               19STCV34891                                                                 312 North Spring Street              Concluded
                                                                                           Los Angeles, CA 90012

       7.10 Voy Ventures v. Urban                                Lawsuit for               Superior Court of California           Pending
       .    Commons, LLC                                         Breach of                 Santa Monic                          On appeal
               20SMCV01771                                       Contract                  1725 Main Street
                                                                                                                                Concluded
                                                                                           Santa Monica, CA 90401

       7.11 Red Bus Charter Company v.                           Breach of                 Superior Court of California           Pending
       .    Urban Commons, LLC                                   Contract                  111 N. Hill Street                   On appeal
               20LBCV00282                                                                 Los Angeles, CA 90012
                                                                                                                                Concluded

8. Assignments and receivership
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    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    Potter Anderson Corroon LLP
                1313 NORTH MARKET
                STREET, 6TH FLOOR                                                                                              1/29/21-5/14
                Wilmington, DE 19801                                                                                           /2021                  $550,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
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    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was               Last balance
                Address                                          account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or descr bes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.

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                    Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                      property                                                                  providing the value

     31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

                No
            Yes. Identify below.
         Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                                    corporation

     32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

                No
            Yes. Identify below.
         Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                                    corporation

      Part 14:     Signature and Declaration

           WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
           connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
           18 U.S.C. §§ 152, 1341, 1519, and 3571.

           I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
           and correct.

           I declare under penalty of perjury that the foregoing is true and correct.

      Executed on         November 11, 2021
See Declaration of Carolyn A. Dye attached at the end of these schedules
                                                                             Carolyn A. Dye, Chapter 7 Trustee
      Signature of individual signing on behalf of the debtor                Printed name

      Position or relationship to debtor         Chapter 7 Trustee

     Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
      No
      Yes




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       G &CB7>9=7G .9@5G #9@15G AA5BG *53C@9G B95A=D5AB<5=BAG                                  G                  G
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       G '@51CB8G 529BG .""*G )&G G +)"G 'G             G                              G              G
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       G &CB7>9=7G .9@5G +1F;>@G .>>4AG                                                           G                 G
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Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
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 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                                  UNITED STATES BANKRUPTCY COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                 CASE NO.: 2:21-bk-13523 ER
            Urban Commons, LLC
                                                                                 CHAPTER: 7




                                                                                                    VERIFICATION OF MASTER
                                                                                                   MAILING LIST OF CREDITORS

                                                                                                                  [LBR 1007-1(a)]

                                                             Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 12 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.
                                                           See Declaration of Carolyn A. Dye attached at the end of these
 Date: November 11, 2021                                   schedules
                                                                      Signature of Debtor 1

Date:
                                                                                        Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: November 11, 2021
                                                                                        Signature of Attorney for Debtor (if applicable)




                 This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                     F 1007-1.MAILING.LIST.VERIFICATION
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                        10250 Constellation
                        Los Angeles, CA 90067


                        Leonard Pena
                        PEÑA & SOMA, APC
                        402 South Marengo Ave., Suite B
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                        United States Trustee
                        725 South Figueroa Street
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                        Los Angeles, CA 90017
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                    New York, NY 10105
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                    Epic Entertainment Group, LLC
                    207 East Broadway #302
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                    ERJMJ Investments, LP
                    32 S La Senda Drive
                    Laguna Beach, CA 92651


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                    9401 Wilshire Blvd 9th Floor
                    Beverly Hills, CA 90212


                    Ford Motor Credit Company
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                    PO Box 55000
                    Detroit, MI 48255-1941


                    Franchise Tax Board
                    Attn Bankruptcy
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                    Sacramento, CA 95812-2952


                    George M. Lee and Galaxy Investment
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                    Pasadena, CA 91106


                    GeoSoils, Inc.
                    5741 Palmer Way Suite D
                    Carlsbad, CA 92010


                    Howard Wu
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                    1375 Dove Street Suite 200
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                    c/o Wallin & Russell
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                    Los Angeles, CA 90084
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                    MarBorg Industries
                    PO Box 4127
                    Santa Barbara, CA 93140


                    Matax Consulting
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                    Diamond Bar, CA 91765


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                    c/o Burkhalter Kessler Clement &
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                    R&R Electric
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                    Regus Management Group LLC
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                    Glendale, CA 91203


                    Robert B. Cowan
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                    Orange, CA 92866


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                    Glendale, CA 91208
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                    Selbert Perkins Design, Inc.
                    432 Culver Blvd.
                    Playa Del Rey, CA 90293


                    State of Delaware
                    Division of Corporations
                    PO Box 5509
                    Binghamton, NY 13902-5509


                    Synter Resource Group LLC
                    5935 Rivers Ave Suite 102
                    Charleston, SC 29406


                    Taylor Woods
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                    Laguna Beach, CA 92651


                    Transworld Systems Inc
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                    Fort Washington, PA 19034


                    UPS
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                    Los Angeles, CA 90067


                    Urban Commons 2 West III LLC
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                    Los Angeles, CA 90067
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                    Urban Commons 2 West IV LLC
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    Attorney for: Carolyn A. Dye, Chapter 7 Trustee
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.: 2:21-bk-13523 ER
         Urban Commons, LLC                                                   ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER:     7



                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                                                        and 7007.1, and LBR 1007-4


                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I, Carolyn A. Dye, Chapter 7 Trustee                                          , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.       I have personal knowledge of the matters set forth in this Statement because:
          I am the president or other officer or an authorized agent of the Debtor corporation
          I am a party to an adversary proceeding
          I am a party to a contested matter
          I am the attorney for the Debtor corporation
       X I am the Chapter 7 Trustee of the Debtor’s bankruptcy estate.
2.a.      The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
          class of the corporation’s(s’) equity interests:
          [For additional names, attach an addendum to this form.]
  b.      There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.
                                                                         See Declaration of Carolyn A. Dye attached at the end of
 November 10, 2021                                                   By: these schedules
 Date                                                                      Signature of Debtor, or attorney for Debtor

                                                                                         Name:        Carolyn A. Dye, Chapter 7 Trustee
                                                                                                      Printed name of Debtor, or attorney for
                                                                                                      Debtor




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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